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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., DOMINION VOTING
SYSTEMS, INC., and DOMINION VOTING
SYSTEMS CORPORATION,

                Plaintiffs/Counter-Defendants,
                                                                  Case No. 21-cv-445-CJN
          vs.

    MY PILLOW, INC., Defendant/Counter-Claimant.
    MICHAEL J. LINDELL, Defendant/Counter-
    Claimant/Third-Party Plaintiff,

          vs.

SMARTMATIC USA CORP., SMARTMATIC
INTERNATIONAL HOLDING B.V., SGO
CORPORATION LIMITED, and HAMILTON
PLACE STRATEGIES, LLC,

                Third-Party Defendants.



SMARTMATIC’S UNOPPOSED MOTION TO STAY DISCOVERY ON THIRD-PARTY
      PLAINTIFF MIKE LINDELL’S CLAIMS AGAINST SMARTMATIC

         Third-party defendants SGO Corporation Limited, Smartmatic International Holding

B.V., and Smartmatic USA Corp. (collectively, “Smartmatic”), respectfully move the Court to

stay discovery on Mike Lindell’s third-party complaint (ECF No. 87) against Smartmatic while

its motion to dismiss (ECF No. 94) remains pending. If granted, the motion to dismiss would

entirely dispose of Mr. Lindell’s claims against Smartmatic. Smartmatic has met and conferred

with counsel on the cases this Court has consolidated for discovery,1 and none has expressed

opposition to this motion. In further support of a stay, Smartmatic states as follows.


1
 The cases are: US Dominion, Inc. v. Powell, No. 21-cv-40; US Dominion, Inc. v. Giuliani, No.
21-cv-213; and US Dominion, Inc. v. My Pillow, Inc., No. 21-cv-445. Smartmatic is a third-party
defendant in No. 21-cv-445.
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                                       BACKGROUND

       1.      Mr. Lindell’s claims against Smartmatic have been pending without any

discovery since June 2021, and Smartmatic respectfully requests that they stay that way until its

motion to dismiss is resolved. Mr. Lindell originally filed suit against Smartmatic in the United

States District Court for the District of Minnesota on June 3, 2021. (No. 21-cv-1332, ECF No. 1).

Smartmatic moved to dismiss after the case was transferred to this Court in September 2021.

(No. 21-cv-2296, ECF No. 81).

       2.      Mr. Lindell subsequently: withdrew his complaint in Case No. 21-cv-2296; refiled

it in this matter, No. 21-cv-445, as a combination of “Counterclaims” (against US Dominion,

Inc., Dominion Voting Systems, Inc., and Dominion Voting Systems Corporation) and a “Third-

Party Complaint” against Hamilton Place Strategies, LLC and Smartmatic; and added new

factual allegations, new theories of liability to support his existing claims, and a new cause of

action against Smartmatic.

       3.      Smartmatic again moved to dismiss Mr. Lindell’s complaint in December 2021.

That motion is fully briefed and pending before the Court. The motion presents several

independent grounds to dismiss each of Mr. Lindell’s third-party claims against Smartmatic.

       4.      Separately, Smartmatic has filed a Motion for Rule 11 Sanctions against Mr.

Lindell and his counsel for the allegations and claims they brought against Smartmatic. That

motion is fully briefed as of today. (See ECF Nos. 118, 119, 124).

       5.      In February 2022, Mr. Lindell propounded a first set of document requests upon

Smartmatic. (See Ex. A, 02/11/21 email; Ex. B, Lindell’s First Set of Requests for Production to

Smartmatic).




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       6.      Smartmatic’s counsel thereafter contacted Mr. Lindell’s counsel, as well as

counsel of record in the other cases the Court has consolidated for discovery, and requested a

stay of discovery on Mr. Lindell’s third-party claims against Smartmatic while its motion to

dismiss is pending. (See Ex. C, 02/24/21 email).

       7.      Mr. Lindell’s counsel took no position on Smartmatic’s request. (See Ex. D,

02/25/22 email). The other counsel of record did not object either.

       8.      On March 1, 2022, the Court entered a schedule to govern discovery in all of the

cases that have been consolidated for discovery. (ECF No. 121; see supra n. 1).

                                     LEGAL STANDARD

       9.      [C]ourts in this district have often stayed discovery while a motion that would be

thoroughly dispositive of the claims in the Complaint is pending.” See Loumiet v. United States,

225 F. Supp. 3d 79, 82 (D.D.C. 2016); see also Sai v. Dep’t of Homeland Sec., 99 F.Supp.3d 50,

58–59 (D.D.C. 2015) (staying “the initiation of discovery…pending resolution of Defendants’

motion to dismiss” because the motion “raise[d] significant issues,” and “their resolution [would]

likely define the scope of discovery” and “indeed, may resolve the entire dispute”); He v. Oath

Holdings, Inc., No. 17-cv-635, 2020 WL 12115482, at *2 (D.D.C. Dec. 16, 2020) (same, where

the defendants’ motion to dismiss “raise[d] a substantial question of” law, “and the resolution of

that question could end the case”); Chavous v. D.C. Fin. Resp. & Mgmt. Assistance Auth., 201

F.R.D. 1, 2 (D.D.C. 2001) (same, because defendants’ motions to dismiss raised “preliminary

questions that may dispose of the case”).

       10.     “In fact, it is well settled that discovery is generally considered inappropriate

while a motion that would be thoroughly dispositive of the claims in the Complaint is pending.”

Loumiet, 225 F. Supp. 3d at 82. “Courts are vested with broad discretion to manage the conduct




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of discovery, with the ultimate goal of ensuring the just, speedy, and inexpensive determination

of every action and proceeding.” Sai, 99 F. Supp. 3d at 58. “In that vein, a stay of discovery

pending the determination of a dispositive motion ‘is an eminently logical means to prevent

wasting time and effort of all concerned, and to make the most efficient use of judicial

resources.” Id.; see also He, 2020 WL 12115482, at *2 (staying discovery because “proceeding

with [it] on even a limited basis could subject the parties to an unnecessary burden” given the

defendant’s pending motion to dismiss); Loumiet, 225 F. Supp. 3d at 84 (same, while stressing

that if the defendants prevailed on their motion to dismiss, “even partially,” “the scope of the

case and the nature of [the defendants’] involvement…will change significantly”).

                                          ARGUMENT

       11.     Discovery against Smartmatic should be stayed while its motion to dismiss is

pending for two reasons. First, a stay is proper because Smartmatic’s motion to dismiss raises

substantial, threshold questions that “may resolve the entire dispute.” Sai, 99 F. Supp. 3d at 58–

59. Mr. Lindell alleges five third-party claims against Smartmatic: violations of the Racketeer

Influenced and Corrupt Organization Act under 18 U.S.C. § 1962 (Count III); violations of the

Support or Advocacy Clause of 42 U.S.C. § 1985 (Count IV); violations of the Equal Protection

Clause and the First Amendment under 42 U.S.C. § 1983 (Counts V and VI); and civil

conspiracy (Count VII). In its motion to dismiss, Smartmatic has identified several dispositive

deficiencies in each claim. If the Court grants Smartmatic’s motion to dismiss, no claims against

Smartmatic will exist in this litigation, and Smartmatic will no longer be a party. Alternatively, if

the Court grants Smartmatic’s motion to dismiss “even partially,” the scope of Mr. Lindell’s

claims and the “nature” of Smartmatic’s involvement “will change significantly.” Loumiet, 225




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F. Supp. 3d at 84. Either way, the preliminary questions Smartmatic’s motion to dismiss raises

against Mr. Lindell’s claims warrant staying discovery until the Court can resolve them.

       12.     Second, a stay of discovery would spare the parties and the Court from needless

discovery and discovery-related disputes between Mr. Lindell and Smartmatic. See Loumiet, 225

F. Supp. at 83 (citing the plaintiff’s “extensive” discovery requests as grounds for staying

discovery). Mr. Lindell seeks 76 categories of documents, including purported communications

between Smartmatic and a gamut of persons including George Soros, the Gates Foundation, Jeff

Bezos, Doug Emhoff (the husband of Vice President Kamala Harris), Mark Zuckerberg, various

public officials, governmental bodies, media outlets, and so forth. (See Ex. B). Smartmatic will

object to many, if not all of Mr. Lindell’s document requests, on several grounds. Staying

discovery will thus avoid costly, likely unnecessary motion practice and conserve judicial

resources. See Loumiet, 225 F. Supp. at 84 (“Additionally, in light of how far-reaching the

Discovery Request appears, it is almost certain that Defendants will seek to litigate its scope. It

would not be a prudent use of the Court’s—or the parties’—resources to litigate a discovery

dispute while the dispositive motions, which may significantly change the nature of the case, are

pending.”).

       13.     Smartmatic does not seek to stay discovery on Mr. Lindell’s third-party claims to

delay or frustrate progress of this matter. Smartmatic agrees that, as Mr. Lindell previously

argued to this Court, discovery should “proceed in the ordinary course after [] answers and

counterclaims are filed.” (ECF No. 83 at 9). Smartmatic has no claims before this Court and will

not be a party to any of the cases this Court has consolidated for discovery, if the Court grants

Smartmatic’s pending motion to dismiss.




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       14.    For these reasons, Smartmatic respectfully requests that the Court stay discovery

on Mr. Lindell’s third-party complaint against Smartmatic, including initial disclosures, until

Smartmatic’s motion to dismiss is resolved.

Dated: March 4, 2022

                                         /s/ J. Erik Connolly

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